Case 2:15-cv-01673-JCM-GWF Document 22-5 Filed 02/08/16 Page 1 of 4




                     EXHIBIT 5
            LeaseWeb Data Centers
2/4/2016            Case 2:15-cv-01673-JCM-GWF Document         22-5 Filed 02/08/16 Page 2 of 4
                                                Data Centers | LeaseWeb


                                  Products       Solutions       About us                                              Chat +1 571 814 3777



Data Centers
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Reliability, security and performance guaranteed.
We have placed top-tier, ISO certified data centers at strategic locations across the globe to ensure prime access to the
major business areas in Europe, the U.S. and Asia. Each one is designed to the highest specifications for performance,
reliability and security.


Our state­of­the­art data centers use the latest technology to guarantee powerful performance and availability.

They’re reliable too. We’ve built in multiple levels of redundancy to ensure consistently high performance, including redundant components
and multiple active paths for cooling and power distribution. If any one of the data centers suffers power loss, emergency backup
generators are ready to kick in to maintain continuity of service.

And, of course, they are secure. When it comes to sensitive business data, we can’t afford to take any chances. Fully compliant with the
latest security policies and audit guidelines, we take a meticulous approach ensuring that your private data stays private, and is protected
at all times.


   The Platform of Choice
   A great platform isn't about the sum of its parts. It's about how those parts work together: how dedicated servers interact with the cloud; how data centers
   connect to our network; how you configure and deploy infrastructure on­demand.

   Network

   Data Centers

   Automation


   What would you like to put on our platform?
   Find out more about our products:

   Dedicated Servers

   Private Cloud

   CDN




         Need help?
   If you've got questions, we've got the experts who can help. Ask now.


      START CHAT




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 J.W. Lucasweg 35, 2031 BE Haarlem, The Netherlands

 AMS-10
 Kuiperbergweg 13, 1101 AE Zuidoost, The Netherlands

 AMS-11
 Boeing Avenue 271, 1119 PD Schiphol-Rijk, The Netherlands

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2/4/2016            Case 2:15-cv-01673-JCM-GWF Document         22-5 Filed 02/08/16 Page 3 of 4
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2/4/2016              Case 2:15-cv-01673-JCM-GWF Document         22-5 Filed 02/08/16 Page 4 of 4
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                                    SaaS                 Reseller Partner Program   Customer Commitment   Blog
     Cloud                          Start Ups            Referral Partner Program   Certifications        LeaseWeb Labs
      Virtual Servers               Test & Development   Specialized Partner        Webinars
      Bare Metal Servers                                 Program                    Events
      Apache CloudStack             Add-on services
      VMware                        Managed Hosting                                 Legal
                                    Backup                                          General
     CDN
                                    SLA                                             Cookie Statement
      Pay-as-you-go                                                                 Abuse Prevention
      Enterprise

     Colocation
      Rack Units
      Private Racks
      Private Cage

     Cybersecurity
      Web Application
      Firewall & DDoS
      Protection

     Hybrid Hosting
     Domain Name
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